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THE LANE LAW FIRM, PLLC
Robert C. Lane
State Bar No. 24046263
notifications@lanelaw.com
6200 Savoy, Suite 1150
Houston, Texas 77036
(713) 595-8200 Voice
(713) 595-8201 Facsimile
PROPOSED COUNSEL FOR DEBTOR


                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

IN RE:                           §
FREDRICK LEE PRESS PLUMBING, LLC §
DEBTOR                           §                  BANKRUPTCY CASE NO. 23-32662

              MOTION FOR AUTHORITY TO USE CASH COLLATERAL

NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN
OBJECTION OR REQUEST FOR HEARING IS FILED WITH THE UNITED STATES
BANKRUPTCY CLERK, 1100 COMMERCE STREET, ROOM 1254, DALLAS, TEXAS
75242-1496, WITHIN TWENTY-ONE (21) DAYS FROM THE DATE OF THE FILING OF
THIS MOTION, UNLESS THE COURT, SUA SPONTE, OR UPON TIMELY
APPLICATION OF A PARTY IN INTEREEST, SHORTENS OR EXTENS THE TIME
FOR FILING SUCH OBJECTION OR REQUEST FOR HEARING.

IF NO OBJECTION OR REQUEST FOR HEARING IS TIMELY FILED, THE MOTION
SHALL BE DEEMED TO BE UNOPPOSED AND THE COURT MAY ENTER AN
ORDER GRANTING THE RELIEF SOUGHT. THE COURT RESERVES THE RIGHT
TO SET ANY MATTER FOR HEARING.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW, Fredrick Lee Press Plumbing, LLC (“Debtor”) and files this Motion for

Authority to Use of Cash Collateral pursuant to 11 U.S.C. § 363. The Debtor presents this

Application and respectfully represents the following:

        1.      On November 14, 2023 ("Petition Date"), the Debtor filed a voluntary petition

 for relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532
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 ("Bankruptcy Code") and is now operating its business as a Debtor-In-Possession.

        2.      The Debtor continues to manage and operate its retail and commercial repair and

 service plumbing business as Debtor-In-Possession pursuant to §§1107 and 1108 of the

 Bankruptcy Code.

        3.      A search in the Texas Secretary of State shows that allegedly secured positions are held

 by Fundation Group LLC (Factor), US Small Business Administration, Global Merchant Cash Inc,

 Newtek Small Business Finance, LLC, BizFund, Blue Ribbon, Fox Capital, Knightsbridge, Samson

 Funding, Samson Group and Swift Funding Source. (See Exhibit “B” for full list).

        4.      The loans are allegedly secured by a blanket lien on all accounts and property of

 the Debtors’ businesses, pursuant to the filed UCC liens that have been filed. At this early stage,

 it is unclear as to whether these agreements are secured and/or comply with Texas or other state

 usury laws, but for the purposes of this motion only, Debtor is acknowledging their UCC filings.

        5.      The Debtor depends on the use of cash collateral for contract services, payroll

 and general operating expenses. Revenue is generated through the Debtor’s retail and

 commercial repair and service plumbing business.

        6.      It is critical to the operation of the Debtor’s business, and to its reorganization

 efforts, that it be permitted to pay these expenses using cash collateral. The Debtor produces

 revenue from its inspection business and would use such revenue to pay the budgeted expenses.

 Moreover, such revenue will be deposited by Debtor in its DIP operating account pending entry

 of an order allowing use of cash collateral or consent by lien holders.

        7.      Attached as Exhibit A is a 14- and 30-day budget for the Debtor, showing

 projected income and expenses. The amounts listed are reasonable and good faith estimations

 of what the Debtor needs to spend each month to continue the operations of its business and
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 reorganize.

        8.      In addition to Exhibit A, the following Exhibit is also attached:

                       Exhibit B              UCC Lien Search

        9.      Debtor requests authority to use the cash collateral for expenses set forth on

 Exhibit “A” and any other unforeseeable expenses that may arise and pose a threat to the

 Debtor’s continued operations. Specifically, the Debtor requests authority to use the cash

 collateral to pay up to 110% of each expense in Exhibit A, so long as the total of cash collateral

 spent during the month does not exceed by more than 5% of that month’s total in Exhibit A.

        10.     This “First Day Motion” is being filed alongside with the Voluntary Petition

 under the Court’s Standing Order on First Day Motions in Chapter 11 cases.

                WHEREFORE, PREMISES CONSIDERED, the Debtor requests this matter be

 set for hearing and that upon hearing, the Court will enter an Interim Order authorizing the

 Debtor’s use of the cash collateral in the amounts set forth in Exhibit “A” and for such other

 and further relief as the Debtor may show itself justly entitled.

                                                      Respectfully submitted,

                                                      THE LANE LAW FIRM, PLLC
                                                      /s/Robert C. Lane
                                                      Robert C. Lane
                                                      State Bar No. 24046263
                                                      notifications@lanelaw.com
                                                      Joshua D. Gordon
                                                      State Bar No 24091592
                                                      Joshua.gordon@lanelaw.com
                                                      6200 Savoy, Suite 1150
                                                      Houston, Texas 77036
                                                      (713) 595-8200 Voice
                                                      (713) 595-8201 Facsimile
                                                      PROPOSED COUNSEL FOR DEBTOR
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the Debtor’s Motion for Authority to Use
Cash Collateral was served upon the US Trustee and to the parties listed on the service list below
and the attached mailing matrix either via electronic notice by the court’s ECF noticing system or
by United States first class mail, postage prepaid, and by electronic mail as listed below on
November 14, 2023:

Debtor:
Fredrick Lee Press Plumbing, LLC
9056 FM 1641
Terrell, Texas 75160

US Trustee:
Office of the U.S. Trustee:
1100 Commerce Street
Room 976
Dallas, TX 75242

Parties Requesting Notice
ustpregion06.da.ecf@usdoj.gov

Electronic Mail Notification:

underwriting@foxbusinessfunding.com

reconciliations@samsonfunding.com

info@blueribbonfunds.com

Reconciliations@blueribbonfunds.com

customerservice@approvalandreconciliation.com – Samson Group

subs@knightsbridgefunding.com

bankruptcy@swiftcapital.com

lrocklin@npmlaw.com – Blue Ribbon Attorney

mike@zahavassetmgmt.com

collections@evlawpllc.com – Attorney for Swift Funding Source Inc.

ari@bblawpllc.com – Attorney for Samson MCA
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info@wallfunding.com – Global Merchant Cash Inc

brian@bizfund.com

dawn.theiss@usdoj.gov

lfadini@newtekone.com

info@fundation.com



                                                  /s/ Robert “Chip” Lane
                                                  Robert “Chip” Lane
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Label Matrix for local noticing         Fredrick Lee Press Plumbing,
                                             Document           Page LLC6 of 7      U.S. Attorney
0539-3                                  9056 FM 1641                                1100 Commerce, 3rd Floor
Case 23-32662-mvl11                     Terrell, TX 75160-7366                      Dallas, TX 75242-1074
Northern District of Texas
Dallas
Tue Nov 14 13:44:20 CST 2023
U.S. Attorney General                   1100 Commerce Street                        Berkovitch & Bouskila, PLLC
Department of Justice                   Room 1254                                   1545 US 202 Suite 101
Washington, DC 20001                    Dallas, TX 75242-1305                       Pomona, NY 10970-2951



Bizfund LLC                             Blue Ribbon Funding                         Brandy Press-Smith
2371 Mcdonald Ave 2nd Fl                1317 Edgewater Drive Suite 1845             9056 FM 1641
Brooklyn, NY 11223-4738                 Orlando, FL 32804-6350                      Terrell, TX 75160-7366



Ershowsky Verstandig                    (p)FORD MOTOR CREDIT COMPANY                Fox Capital Group, Inc.
290 Central Avenue Suite 109            P O BOX 62180                               803 S 21st Avenue
Lawrence, NY 11559-8507                 COLORADO SPRINGS CO 80962-2180              Hollywood, FL 33020-6962



Fredrick Lee Press                      Fundation Group LLC                         Global Merchant Cash Inc.
9056 FM 1641                            11501 Sunset Hills Road Suite 100           640 Beavers Street 415
Terrell, TX 75160-7366                  Reston, VA 20190-6700                       New York, NY 10004



Knightsbridge Funding LLC               Mercedes Benz Financial                     Nathaniel Smith
40 Wall Street Suite 2903               PO Box 685                                  9056 FM 1641
New York, NY 10005-1304                 Roanoke, TX 76262-0685                      Terrell, TX 75160-7366



Neubert, Pepe & Monteith, P.C.          Newtek Small Business Finance               Samson Funding
195 Church Street, 13th Floor           1981 Marcus Ave Suite 130                   17 State Street, 6th Floor Suite 630
New Haven, CT 06510-4011                New Hyde Park, NY 11042-1046                New York, NY 10004-1749



Samson Group                            Swift Funding Source Inc                    The Lane Law Firm
400 Rella Blvd Suite 165-101            2474 McDonald Ave                           6200 Savoy Dr Ste 1150
Suffern, NY 10901-4241                  Brooklyn, NY 11223-5233                     Houston, TX 77036-3369



U.S. Small Business Administration      United States Trustee                       Zahav Asset Management LLC
Loan Servicing Center                   1100 Commerce Street                        234 Cedarhurst Ave. Apt. 21B
2120 Riverfront Drive Suite 100         Room 976                                    Cedarhurst, NY 11516-1608
Little Rock, AR 72202-1794              Dallas, TX 75242-0996


Robert Lane
The Lane Law Firm
6200 Savoy, Suite 1150
Houston, TX 77036-3369
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Ford Motor Credit Company LLC
c/o National Bankruptcy Service Center
PO Box 62180
Colorado Springs, CO 80962




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Fredrick Lee Press Plumbing, LLC                  End of Label Matrix
9056 FM 1641                                         Mailable recipients    27
Terrell, TX 75160-7366                               Bypassed recipients     1
                                                     Total                  28
